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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

  THE HOMESOURCE, CORP.,
                                                       Case No.: 1:18-cv-11970-ECR-AMD
                        Plaintiff,

         vs.

  RETAILER WEB SERVICES, LLC, et al.,

                       Defendants.


                               SIXTH SCHEDULING ORDER

        AND NOW, this 16th day of November 2021, pursuant to Paragraph 3(b) of the Order

 appointing Stephen M. Orlofsky as Special Master (Doc. No. 281), it is hereby ORDERED that:

        1.     All fact discovery shall be completed by February 22, 2022.

        2.     All opening expert reports shall be exchanged by March 24, 2022.

        3.     All rebuttal expert reports shall be exchanged by April 25, 2022.

        4.     All expert discovery shall be completed by May 25, 2022.

        5.     Any motions for summary judgment shall be filed by July 18, 2022.

        6.     Responses to any motions for summary judgment shall be filed by August 17, 2022.

        7.     Replies in support of any motions for summary judgment shall be filed by
               September 7, 2022.

        8.     Following the submission or non-submission of motion(s) for summary judgment,
               Judge Robreno shall reset pre-trial and trial deadlines.


        IT IS SO ORDERED.

                                                        s/ Stephen M. Orlofsky
                                                        Special Master Stephen M. Orlofsky
